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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
v. Criminal No. 21-0626 (PLF)
DEREK COOPER GUNBY,

Defendant.

 

AMENDED SCHEDULING ORDER

On November 8, 2022, due to the Court’s ongoing trial schedule in another
matter, the Court vacated the bench trial in this case scheduled to begin on December 12, 2022.
See Minute Order (Nov. 8, 2022). On January 20, 2022, the parties submitted a joint status
report responding to the Court’s request for the parties’ availability for a rescheduled bench trial.
See Joint Status Report and Motion to Exclude Time Under the Speedy Trial Act (“JSR”) [Dkt.
No. 49]. Defendant Derek Cooper Gunby also waived his rights under the Speedy Trial Act and
the parties jointly agreed that “the ends of justice would be served by exclusion of time under
The Speedy Trial Act until the trial date selected by the Court or the date of the next status
conference before this Court.” Id. at 3, 2. Upon consideration of the parties’ joint status
report, the Court will schedule a bench trial in this case from September 26-29, 2023.

The Court further requests the parties’ guidance regarding which of the four
pending non-evidentiary pretrial motions require oral argument. See Defendant Gunby’s Motion
to Dismiss on First Amendment Grounds [Dkt. No. 35]; Defendant Gunby’s Motion to Change
Venue to District of South Carolina, Greenville Division [Dkt. No. 36]; Defendant Gunby’s

Motion to Dismiss One of Two “Disorderly Conduct” Counts Due to Multiplicity [Dkt. No. 37];
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Defendant Gunby’s Motion to Dismiss The Information for Failure to State a Claim [Dkt.
No. 38]. The parties are directed to summarize their views in a joint status report. Accordingly,
it is hereby

ORDERED that on or before January 30, 2023, the parties shall meet and confer
and submit a joint status report informing the Court of their views as to which of the four
pending non-evidentiary pretrial motions require oral argument; it is

FURTHER ORDERED that a bench trial in this matter will commence in
Courtroom 29 of the William B. Bryan Annex to the E. Barrett Prettyman Courthouse on
September 26, 2023, beginning at 10:00 a.m., and will continue each weekday at 10:00 a.m.
through September 29, 2023; it is

FURTHER ORDERED that in the interest of justice and based on the agreement
of the parties, the Speedy Trial Act is tolled from the period of January 20, 2023 through
September 26, 2023; and it is

FURTHER ORDERED that the pretrial motions and trial schedule will proceed

pursuant to the following schedule:

 

 

 

Date Description

August 15, 2023 The parties shall file any motions in limine and
Daubert motions.

August 29, 2023 The parties shall file oppositions to motions in

limine and Daubert motions.

 

 

September 5, 2023 The parties shall file replies in support of
motions in limine and Daubert motions.

 

 

 

 
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Date Description

 

September 11, 2023 at | The Court will hear oral argument on all
10:00 a.m. pending motions in Courtroom 29.

 

September 12, 2023 The parties shall exchange proposed case-in-
chief exhibits and witness lists.

 

September 18, 2023 The parties shall deliver to the Court two sets
of exhibit lists and pre-marked exhibits.

The parties shall provide to the Court any
stipulations executed or anticipated to be
executed.

 

September 20, 2023 at | Final pretrial conference in Courtroom 29.
10:00 a.m.

 

September 26-29, 2023 | Trial will commence in Courtroom 29 with
opening statements and will continue each
weekday at 10:00 a.m.

 

 

 

 

SO ORDERED.

PAUL L. FRIEDMAN
United States District Judge

DATE: | 3 \3
